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  June 9, 2017



 Raishawn Key
 Maine State Prison
 807 Cushing Road
 Warren, ME 04864

 Re:     Raishawn Key v. City of Augusta, et al.,
                                                    Civil Docket No. 1:17-cv-00007-JDL


 Dear Mr. Key:

 Enclosed please find:

     1. Defendants' Responses to Plaintiff'
                                            s Request for Interrogatories;
     2. Defendants' Responses to Plaintiff's Requ
                                                  est for Admission; and
     3. Defendants' Responses to Plaintiff's
                                              Request for Production (with document production
        1-89).

 Sincerely,



Timothy E. teigelman

TES/abc

Enclosures




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